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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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     Kimberly Arcoleo,                     )          CV-11-01362-PHX-ROS
 9                                         )
                 Plaintiff,                )
10                                         )
     vs.                                   )
11                                         )          AMENDED ORDER
     Encore Receivable           Management)
12   Incorporated,                         )
                                           )
13               Defendant.                )
                                           )
14                                         )
15          IT IS ORDERED nunc pro tunc amending the Court’s March 28, 2012 Order (Doc.
16   21) and striking that part of the order directing the Clerk to enter judgment in this case.
17          IT IS FURTHER ORDERED, pursuant to the parties’ Notice of Settlement (Doc.
18   20), this action will be dismissed with prejudice by the Clerk’s Office without further notice
19   on April 30, 2012, unless prior thereto a request for reinstatement on the Court’s trial
20   calendar is filed herein.
21          IT IS FURTHER ORDERED that all pending motions and stipulations are DENIED
22   without prejudice as moot and all pending deadlines are vacated.
23          IT IS FURTHER ORDERED that all scheduled hearings and/or the trial date are
24   VACATED.
25          DATED this 1st day of May, 2012.
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